                            Case 1-09-50349-cec                       Doc 1        Filed 11/20/09              Entered 11/20/09 16:09:36
B 1 (Official Form 1) (1/08)
                                         United States Bankruptcy Court
                                    Eastern District of New York                                                                          Voluntary Petition

 Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
  Becalel Edelstein                                                                             Susan Edelstein
 All Other Names used by the Debtor in the last 8 years                                         All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                    (include married, maiden, and trade names):
  Charles
 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN               Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
 (if more than one, state all):                                                                 (if more than one, state all):
  5694                                                                                          9922
 Street Address of Debtor (No. and Street, City, and State):                                    Street Address of Joint Debtor (No. and Street, City, and State):
 1159 East 28th Street                                                                          1159 East 28th Street
 Brooklyn, NY                                                                                   Brooklyn, NY
                                                                      ZIP CODE 11210                                                                         ZIP CODE 11210
 County of Residence or of the Principal Place of Business:                                     County of Residence or of the Principal Place of Business:
  Kings                                                                                         Kings
 Mailing Address of Debtor (if different from street address):                                  Mailing Address of Joint Debtor (if different from street address):



                                                                 ZIP CODE                                                                                    ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                          ZIP CODE
                      Type of Debtor                                      Nature of Business                               Chapter of Bankruptcy Code Under Which
                  (Form of Organization)                      (Check one box.)                                                the Petition is Filed (Check one box.)
                     (Check one box.)
                                                                   Health Care Business                                 Chapter 7               Chapter 15 Petition for
  ✔     Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in               Chapter 9               Recognition of a Foreign
        See Exhibit D on page 2 of this form.                      11 U.S.C. § 101(51B)                                 Chapter 11              Main Proceeding
        Corporation (includes LLC and LLP)                         Railroad                                             Chapter 12              Chapter 15 Petition for
        Partnership                                                Stockbroker                                  ✔       Chapter 13              Recognition of a Foreign
        Other (If debtor is not one of the above entities,         Commodity Broker                                                             Nonmain Proceeding
        check this box and state type of entity below.)            Clearing Bank
                                                                   Other                                                                 Nature of Debts
                                                              ___________________________________                                        (Check one box.)
 __________________________________________                              Tax-Exempt Entity
                                                                      (Check box, if applicable.)               ✔ Debts are primarily consumer              Debts are primarily
                                                                                                                      debts, defined in 11 U.S.C.           business debts.
                                                                      Debtor is a tax-exempt organization             § 101(8) as “incurred by an
                                                                      under Title 26 of the United States             individual primarily for a
                                                                      Code (the Internal Revenue Code).               personal, family, or house-
                                                                                                                      hold purpose.”
                                 Filing Fee (Check one box.)                                                                     Chapter 11 Debtors
                                                                                                Check one box:
  ✔     Full Filing Fee attached.                                                                   Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).

        Filing Fee to be paid in installments (applicable to individuals only). Must attach           Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        signed application for the court’s consideration certifying that the debtor is
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.           Check if:
                                                                                                    Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                insiders or affiliates) are less than $2,190,000.
        attach signed application for the court’s consideration. See Official Form 3B.          -----------------------------------
                                                                                                Check all applicable boxes:
                                                                                                    A plan is being filed with this petition.
                                                                                                    Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                    of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                         THIS SPACE IS FOR
                                                                                                                                                                COURT USE ONLY
  ✔        Debtor estimates that funds will be available for distribution to unsecured creditors.
           Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
  ✔
 1-49          50-99           100-199        200-999        1,000-          5,001-         10,001-         25,001-           50,001-          Over
                                                             5,000           10,000         25,000          50,000            100,000          100,000

 Estimated Assets
                                               ✔
 $0 to         $50,001 to      $100,001 to    $500,001       $1,000,001      $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000        $500,000       to $1          to $10          to $50         to $100         to $500           to $1 billion    $1 billion
                                              million        million         million        million         million
 Estimated Liabilities
                                               ✔
 $0 to         $50,001 to      $100,001 to    $500,001       $1,000,001      $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000        $500,000       to $1          to $10          to $50         to $100         to $500           to $1 billion    $1 billion
                                              million        million         million        million         million
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B 1 (Official Form 1) (1/08)                                                                                                                                             Page 2
 Voluntary Petition                                                                 Name of Debtor(s):
 (This page must be completed and filed in every case.)
                                  All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                           Case Number:                                     Date Filed:
 Where Filed:
 Location                                                                           Case Number:                                     Date Filed:
 Where Filed:
                    Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                    Case Number:                                     Date Filed:

 District:                                                                                     Relationship:                                    Judge:
                  Eastern District of New York
                                        Exhibit A                                                                                Exhibit B
                                                                                                                 (To be completed if debtor is an individual
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                            whose debts are primarily consumer debts.)
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)            I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                               have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                               12, or 13 of title 11, United States Code, and have explained the relief
                                                                                               available under each such chapter. I further certify that I have delivered to the
                                                                                               debtor the notice required by 11 U.S.C. § 342(b).

        Exhibit A is attached and made a part of this petition.                                X    s/David Carlebach                          11/20/2009
                                                                                                   Signature of Attorney for Debtor(s)       (Date)

                                                                                   Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

  ✔     No.



                                                                                  Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

      ✔ Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

             Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                  Information Regarding the Debtor - Venue
                                                                           (Check any applicable box.)
              ✔      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                     preceding the date of this petition or for a longer part of such 180 days than in any other District.

                     There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or
                     has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                     this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                       (Check all applicable boxes.)

                       Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                               (Name of landlord that obtained judgment)



                                                                                               (Address of landlord)

                       Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                       entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                       Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the
                       filing of the petition.

                       Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B 1 (Official Form) 1 (1/08)                                                                                                                                       Page 3
Voluntary Petition                                                                          Name of Debtor(s):
(This page must be completed and filed in every case.)
                                                                                    Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                                    Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
[If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
chapter, and choose to proceed under chapter 7.
                                                                                                 I request relief in accordance with chapter 15 of title 11, United States Code.
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I          Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                 Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States Code,                 chapter of title 11 specified in this petition. A certified copy of the
specified in this petition.                                                                       order granting recognition of the foreign main proceeding is attached.

X      s/Bacalel Edelstein                                                                  X
     Signature of Debtor                                                                         (Signature of Foreign Representative)

X      s/Susan Edelstein
     Signature of Joint Debtor                                                                   (Printed Name of Foreign Representative)
       718-253-6887
     Telephone Number (if not represented by attorney)
       11/20/2009                                                                                Date
     Date
                                 Signature of Attorney*                                                 Signature of Non-Attorney Bankruptcy Petition Preparer

X      s/David Carlebach                                                                    I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
     Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
       David Carlebach                                                                      provided the debtor with a copy of this document and the notices and information
     Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
       Law Offices of David Carlebach                                                       guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
     Firm Name                                                                              fee for services chargeable by bankruptcy petition preparers, I have given the debtor
               40 Exchange Place, New York, NY 10005                                        notice of the maximum amount before preparing any document for filing for a debtor
     Address                                                                                or accepting any fee from the debtor, as required in that section. Official Form 19 is
                                                                                            attached.

       212-785-3041
     Telephone Number                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer
       11/20/2009
     Date                                                                                        Social-Security number (If the bankruptcy petition preparer is not an individual,
                                                                                                 state the Social-Security number of the officer, principal, responsible person or
*In a case in which § 707(b)(4)(D) applies, this signature also constitutes a                    partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
certification that the attorney has no knowledge after an inquiry that the information
in the schedules is incorrect.
                                                                                                 Address
                  Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in this petition is true   X
and correct, and that I have been authorized to file this petition on behalf of the
debtor.
                                                                                                 Date
The debtor requests the relief in accordance with the chapter of title 11, United States
Code, specified in this petition.                                                           Signature of bankruptcy petition preparer or officer, principal, responsible person, or
                                                                                            partner whose Social-Security number is provided above.
X
     Signature of Authorized Individual                                                     Names and Social-Security numbers of all other individuals who prepared or assisted
                                                                                            in preparing this document unless the bankruptcy petition preparer is not an
     Printed Name of Authorized Individual
                                                                                            individual.
     Title of Authorized Individual
                                                                                            If more than one person prepared this document, attach additional sheets conforming
     Date                                                                                   to the appropriate official form for each person.

                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                            the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                            both. 11 U.S.C. § 110; 18 U.S.C. § 156.




               Reset                                                                                                 Save As...                             Print
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Official Form 1, Exhibit D (10/06)

                                  UNITED STATES BANKRUPTCY COURT
                                          Eastern District of New York


         In re:   Becalel Edelstein Susan Edelstein                                 Case No.
                     Debtor(s)                                                                                 (if known)


           EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

         Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court can
dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your creditors
will be able to resume collection activities against you. If your case is dismissed and you file another
bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file
a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

              1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, and I have a certificate
from the agency describing the services provided to me. Attach a copy of the certificate and a copy of any debt
repayment plan developed through the agency.

               2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, but I do not have a
certificate from the agency describing the services provided to me. You must file a copy of a certificate from the
agency describing the services provided to you and a copy of any debt repayment plan developed through the
agency no later than 15 days after your bankruptcy case is filed.


              3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent circumstances
merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case now. [Must be
accompanied by a motion for determination by the court.] [Summarize exigent circumstances here.]

                                                                                                                             .


         If the court is satisfied with the reasons stated in your motion, it will send you an order approving
your request. You must still obtain the credit counseling briefing within the first 30 days after you file your
bankruptcy case and promptly file a certificate from the agency that provided the briefing, together with a
copy of any debt management plan developed through the agency. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. A motion for extension must be filed
within the 30-day period. Failure to fulfill these requirements may result in dismissal of your case. If the
court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
counseling briefing, your case may be dismissed.

             4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
        mental deficiency so as to be incapable of realizing and making rational decisions with respect to financial
        responsibilities.);
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Official Form 1, Exh. D (10/06) – Cont.
                      Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
        unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
        through the Internet.);
                      Active military duty in a military combat zone.

             5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. ' 109(h) does not apply in this district.

        I certify under penalty of perjury that the information provided above is true and correct.

Signature of Debtor: s/ Becalel Edelstein
                     Becalel Edelstein

Date: 11/20/2009
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Official Form 1, Exhibit D (10/06)

                                  UNITED STATES BANKRUPTCY COURT
                                          Eastern District of New York


         In re:   Becalel Edelstein Susan Edelstein                                 Case No.
                     Debtor(s)                                                                                 (if known)


           EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

         Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court can
dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your creditors
will be able to resume collection activities against you. If your case is dismissed and you file another
bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file
a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

              1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, and I have a certificate
from the agency describing the services provided to me. Attach a copy of the certificate and a copy of any debt
repayment plan developed through the agency.

               2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, but I do not have a
certificate from the agency describing the services provided to me. You must file a copy of a certificate from the
agency describing the services provided to you and a copy of any debt repayment plan developed through the
agency no later than 15 days after your bankruptcy case is filed.


              3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent circumstances
merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case now. [Must be
accompanied by a motion for determination by the court.] [Summarize exigent circumstances here.]

                                                                                                                             .


         If the court is satisfied with the reasons stated in your motion, it will send you an order approving
your request. You must still obtain the credit counseling briefing within the first 30 days after you file your
bankruptcy case and promptly file a certificate from the agency that provided the briefing, together with a
copy of any debt management plan developed through the agency. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. A motion for extension must be filed
within the 30-day period. Failure to fulfill these requirements may result in dismissal of your case. If the
court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
counseling briefing, your case may be dismissed.

             4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
        mental deficiency so as to be incapable of realizing and making rational decisions with respect to financial
        responsibilities.);
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Official Form 1, Exh. D (10/06) – Cont.
                      Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
        unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
        through the Internet.);
                      Active military duty in a military combat zone.

             5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. ' 109(h) does not apply in this district.

        I certify under penalty of perjury that the information provided above is true and correct.

Signature of Debtor: s/ Susan Edelstein
                     Susan Edelstein

Date: 11/20/2009
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B 203
(12/94)

                                                        UNITED STATES BANKRUPTCY COURT
                                                             Eastern District of New York
In re:           Becalel Edelstein                                Susan Edelstein                                     Case No.
                                                                                                                      Chapter        13
                                                   Debtors

                                DISCLOSURE OF COMPENSATION OF ATTORNEY
                                               FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s)
   and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be
   paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in
   connection with the bankruptcy case is as follows:

          For legal services, I have agreed to accept                                                                            $        2,500.00
          Prior to the filing of this statement I have received                                                                  $        2,500.00
          Balance Due                                                                                                            $           0.00
2. The source of compensation paid to me was:

                 Debtor                                          Other (specify)
3. The source of compensation to be paid to me is:
                  Debtor                                          Other (specify)

4.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
             of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of
             my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is
             attached.
5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
     including:

     a)      Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file
             a petition in bankruptcy;

     b)      Preparation and filing of any petition, schedules, statement of affairs, and plan which may be required;

     c)      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

     d)      Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e)      [Other provisions as needed]
             None
6. By agreement with the debtor(s) the above disclosed fee does not include the following services:
             None


                                                                        CERTIFICATION
    I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.

  Dated: 11/20/2009

                                                                        s/ David Carlebach, Esq.
                                                                        David Carlebach, Bar No. DC-7350

                                                                         Law Offices of David Carlebach
                                                                         Attorney for Debtor(s)
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                                                     UNITED STATES BANKRUPTCY COURT
                                                     EASTERN DISTRICT OF NEW YORK

In Re                                                                                        BANKRUPTCY NO.

Becalel Edelstein
Susan Edelstein
                                                                    Debtor.


                                                DECLARATION RE: ELECTRONIC FILING OF
                                                 PETITION, SCHEDULES & STATEMENTS

PART I - DECLARATION OF PETITIONER

           [We] Becalel Edelstein                                                  and       Susan Edelstein                                            ,

the undersigned debtor(s), hereby declare under penalty of perjury that the information I have given my attorney and the information
provided in the electronically filed petition, statements, schedules is true and correct. I consent to my attorney sending my petition,
this declaration, statements and schedules to the United States Bankruptcy Court. I understand that this DECLARATION RE:
ELECTRONIC FILING is to be filed with the Clerk once all schedules have been filed electronically but, in no event, no later than 15 days
following the date the petition was electronically filed. I understand that failure to file the signed original of this DECLARATION will cause
my case to be dismissed pursuant to 11 U.S.C. § 707(a)(3) without further notice.


                   [If petitioner is an individual whose debts are primarily consumer debts and has chosen to file under chapter 7] I am
aware that I may proceed under chapter 7, 11, 12 or 13 of 11 United States Code, understand the relief available under each such chapter,
and choose to proceed under Chapter 7. I request relief in accordance with the chapter specified in this petition.
                   [If petitioner is a corporation or partnership] I declare under penalty of perjury that the information provided in this
petition is true and correct, and that I have been authorized to file this petition on behalf of the debtor. The debtor requests relief in
accordance with the chapter specified in this petition.

Dated:    11/20/2009
                                                  Signed:     s/ Becalel Edelstein                                   s/ Susan Edelstein
                                                              Becalel Edelstein                                      Susan Edelstein
                                                                               (Applicant)                                          (Joint Applicant)

PART II - DECLARATION OF ATTORNEY

            I declare under penalty of perjury that I have reviewed the above debtor’s petition and that the information is complete and
correct to the best of my knowledge. The debtor(s) will have signed this form before I submit the petition, schedules, and statements. I
will give the debtor(s) a copy of all forms and information to be filed with the United States Bankruptcy Court, and have followed all other
requirements in the most recent attachment to G.O. #162. I further declare that I have examined the above debtor’s petition, schedules, and
statements and, to the best of my knowledge and belief, they are true, correct, and complete. If an individual, I further declare that I have
informed the petitioner that [he or she] may proceed under chapter 7, 11, 12 or 13 of Title 11, United States Code, and have explained the
relief available under each such chapter. This declaration is based on all information of which I have knowledge.



Dated:    11/20/2009
                                                                               s/ David Carlebach, Esq.
                                                                               David Carlebach
                                                                               Attorney for Debtor(s)
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    B 201 (04/09/06)

                                       UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF NEW YORK


                       NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                     OF THE BANKRUPTCY CODE
                 In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from
    credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings
    you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine
    all information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and
    not easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should
    you decide to file a petition. Court employees cannot give you legal advice.
    1. Services Available from Credit Counseling Agencies
             With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
    bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
    counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days
    before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by
    telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
    United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
    approved budget and credit counseling agencies.
              In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
    management instructional course before he or she can receive a discharge. The clerk also has a list of approved
    financial management instructional courses.


    2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors
         Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)

              1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
   Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
   should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
   residence and family size, in some cases, creditors have the right to file a motion requesting that the court dismiss your
   case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
              2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
   right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
   creditors.
              3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found
   to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge
   and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
              4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
   may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
   and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
   which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor
   vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud,
   breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is
   not discharged.
       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
administrative fee: Total fee $274)
             1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of
    their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar
    amounts set forth in the Bankruptcy Code.
              2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
    them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
    depending upon your income and other factors. The court must approve your plan before it can take effect.
              3. After completing the payments under your plan, your debts are generally discharged except for domestic support
    obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
    properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
    secured obligations.
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    Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
         Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions
are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.
    Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)

         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court.

                                                         Certificate of Attorney

              I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.

David Carlebach                                                             s/ David Carlebach, Esq.         11/20/2009
Printed Name of Attorney                                                    Signature of Attorney                        Date

Address:
Law Offices of David Carlebach
40 Exchange Place
New York, NY 10005


(212) 785 - 3041

                                                        Certificate of the Debtor
    We, the debtors, affirm that we have received and read this notice.

Becalel Edelstein                                                   Xs/ Becalel Edelstein                    11/20/2009
                                                                     Becalel Edelstein
Susan Edelstein
                                                                     Signature of Debtor                         Date
Printed Name(s) of Debtor(s)
                                                                   X s/ Susan Edelstein                      11/20/2009
Case No. (if known)                                                  Susan Edelstein
                                                                     Signature of Joint Debtor                   Date
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                           UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF NEW YORK



                                         x

In Re:

                                                                                 Case No.
Becalel Edelstein

Susan Edelstein                                                                  Chapter         13

                        Debtor(s)
                                         x




              VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS


               The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the creditor
matrix/list of creditors submitted herein is true and correct to the best of his or her knowledge.




Dated: 11/20/2009



                                                          s/ Becalel Edelstein
                                                          Becalel Edelstein
                                                          Debtor



                                                          s/ Susan Edelstein
                                                          Susan Edelstein
                                                          Joint Debtor

                                                          s/ David Carlebach, Esq.
                                                          David Carlebach
                                                          Attorney for Debtor




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Wilmington, DE
19886

BAC Home Loan Services, LP
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Dallas, TX 75265-0070

Cadles of Grassy Meadows II, L.L.C.
100 North Center Street
Newton Falls, OH 44444

Cadles of Grassy Meadows II, L.L.C.
c/o Vlock & Assoc., P.C.
230 Park Avenue
New York, NY 10169

Internal Revenue Service
290 Broadway, 4th Fl.
New York, NY 10007

JP Morgan Chase Bank
PO Box 15019
Wilmington, DE
19886-5019

Lexus Financial
Bay Ridge Lexus
665 65th Street
Brooklyn, NY 11220

Lord & Taylor
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Macys
PO Box 8113
Mason, Ohio 45040

Nassau Emergency Medical PC
100 Port Washington Blvd.
Roslyn, NY 11576

NCO Financial Sys., Inc.
507 Prudential Road
Horsham, PA 19044


NSY Dept. of Tax & Finance
ATT: Office of Counsel
Building 9, W.A. Harriman
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Mt Sinai Medical Center
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10087-0668

Time Warner
c/o Credit Protect. Assoc
769 5th Avenue
Brooklyn, NY
11232

T-Mobile Bankruptcy Team
PO Box 53410
Bellevue, WA
98015-53410

United Recovery Systems
PO Box 722929
Houston, TX
77272-2929

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Fort Lauderdale, FL
33336-0001

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